
In re Dorsey, Michael Glen; —Plaintiff; Applying For Supervisory and/or Remedíal Writs, Parish of St. Tammany, 22nd Judicial District Court Div. F, No. 348109; to the Court of Appeal, First Circuit, No. 2009 KW 1680.
Denied. Untimely, not cognizable on collateral review, and repetitive. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La. C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(A); La.C.Cr.P. art. 930.4(D).
